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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


XYZ CORPORATION,

        PLAINTIFF,

V.                                                            CIVIL ACTION NO.: 1:20-CV-03281

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”

        DEFENDANTS.



                                              COMPLAINT

        Plaintiff, XYZ Corporation (“Plaintiff”), by its undersigned counsel, hereby complains of

the Partnerships and Unincorporated Associations identified on Schedule “A” attached hereto

(collectively, “Defendants”), and for its Complaint hereby alleges as follows1:


                                    JURISDICTION AND VENUE

        1.       This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Federal Copyright Act,

17 U.S.C. § 101, et seq., 28 U.S.C. § 1338(a)–(b), and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C.

§ 1367(a), because the state law claims are so related to the federal claims that they form part of

the same case or controversy and derive from a common nucleus of operative facts.




1
 Since it is unknown when Plaintiff’s forthcoming Motion for a Temporary Restraining Order will be
ruled on, Plaintiff’s name has been removed to prevent Defendants from getting advanced notice.
Plaintiff is listed on the trademark certificates filed under seal as Exhibit 1, and Plaintiff will file an
Amended Complaint under seal that identifies Plaintiff and provides additional allegations.
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        2.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events giving

rise to this lawsuit, of which each Defendant stands accused, were undertaken in Illinois and within

this Judicial District.

        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, since each Defendant

directly targets consumers in the United States, including Illinois, through the fully interactive,

commercial Internet stores operating under the Defendant Seller Aliases and/or the Online

Marketplace Accounts identified in Schedule “A”. Each of the Defendants has targeted sales from

Illinois residents by operating online stores that offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and, on information and belief, has sold, and continues to

sell counterfeit products that infringe Plaintiff’s trademarks and/or copyrights. Each Defendant is

committing tortious acts, is engaging in interstate commerce, and has wrongfully caused

substantial injury in the State of Illinois.


                                          INTRODUCTION

        4.      This action has been filed to combat the online trademark and copyright infringement

and counterfeiting of Defendants, who trade upon Plaintiff’s valuable trademarks and copyrights by

selling and/or offering for sale unauthorized, unauthentic, and counterfeit products in connection

with Plaintiff’s federally registered trademarks (“the Counterfeit Products”), as well as to stop and

prevent Defendants’ selling of unauthorized products that use, are based on, and/or are derived from

copyrighted subject matter created by Plaintiff .

        5.      In an effort to illegally and deceptively profit from Plaintiff’s Trademarks and

Copyrights, Defendants created numerous Seller Aliases and online stores (referred to as “Defendant

Internet Stores”), intentionally designed in look, feeling, and suggestion to give the impression to
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consumers that they are legitimate websites selling authorized Plaintiff Products, with Defendants’

ultimate intention being to deceive unknowing consumers into purchasing Counterfeit Products2.

          6.      Defendant Internet Stores share numerous unique identifiers, such as design elements

and similarities of the unauthorized products offered for sale, establishing a logical relationship

between Defendants, and suggesting that Defendants’ illegal operations arise out of the same

transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability

by going to great lengths to conceal both their identities and the full scope and interworking of their

illegal operation.

          7.      Plaintiff is forced to file this action to combat Defendants’ ongoing infringement of

Plaintiff’s Trademarks and Copyrights (collectively referred to as “Plaintiff Intellectual Property”

or “Plaintiff IP”). Plaintiff has been and continues to be irreparably damaged through consumer

confusion, dilution, loss of control over the creative content, and tarnishment of its valuable

trademarks and copyrights as a result of Defendants’ actions and is thus seeking injunctive and

monetary relief.

                                            THE PLAINTIFF

          8.      XYZ Corporation specializes in the creation, manufacture, marketing, and licensing

of products which display the internationally recognizable federally registered Plaintiff

Trademarks (collectively, “Plaintiff’s Products”).

          9.      XYZ Corporation is the owner and licensor of all Plaintiff’s Products available in

stores and on various e-commerce platforms.

          10.     Plaintiff’s Trademarks (Sealed Exhibit 1) and Copyrights (Sealed Exhibit 2) have

been used exclusively by XYZ Corporation, and have never been abandoned. The registrations are

valid, subsisting, and in full force and effect. The registrations constitute prima facie evidence of

2
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
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their validity and of XYZ Corporation’s exclusive right to use Plaintiff’s Trademarks pursuant to

15 U.S.C. § 1057(b).

       11.     Plaintiff has invested substantial time, money, and effort in building up and

developing consumer recognition, awareness, and goodwill in Plaintiff’s Products. The success of

Plaintiff’s Products is due in large part to the marketing, promotional, and distribution efforts of

Plaintiff. These efforts include advertising and promotion through internet-based advertising, print,

and other efforts both in the United States and internationally. The success of Plaintiff’s Products is

also due to the use of high-quality materials and processes in making Plaintiff’s Products.

Additionally, Plaintiff owes a substantial amount of the success of Plaintiff’s Products to its

licensees, consumers, and interest that its consumers have generated.

       12.     As a result of the efforts of Plaintiff, the quality of Plaintiff’s Products, the

promotional efforts for its products and designs, and press and media coverage, the members of the

public have become familiar with Plaintiff’s Products, Plaintiff’s Copyrights, and Plaintiff’s

Trademarks, and associate them exclusively with XYZ Corporation.

       13.     XYZ Corporation has made efforts to protect its interests in and to Plaintiff’s

Intellectual Property. XYZ Corporation and its licensees are the only businesses and/or individuals

authorized to manufacture, import, export, advertise, offer for sale, or sell any goods utilizing

Plaintiff’s Copyrights and/or Plaintiff’s Trademarks, without the express written permission of XYZ

Corporation. Plaintiff has not licensed or authorized Defendants to use Plaintiff’s Trademarks and/or

Copyrights.

                                           THE DEFENDANTS

       14.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including Illinois, and within this Judicial District, through the
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operation of fully interactive commercial websites and online marketplaces operating under the

Defendant Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell unauthorized and/or

Counterfeit Products to consumers within the United States, Illinois, and this Judicial District.


                         THE DEFENDANTS’ UNLAWFUL CONDUCT

       15.     The success and widespread popularity and recognition of Plaintiff’s Products has

resulted in significant counterfeiting and intentional copying. Plaintiff has identified numerous

domain names linked to fully interactive websites and marketplace listings on platforms such as

eBay, Amazon, Wish, and AliExpress, including the Defendant Internet Stores, which are offering

for sale, selling, and importing Counterfeit Products to consumers in this Judicial District and

throughout the United States. Internet websites like the Defendant Internet Stores are estimated to

receive tens of millions of visits per year and to generate over $135 billion in annual online sales.

According to an intellectual property rights seizures statistics report issued by Homeland Security,

the manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in the

fiscal year 2013 was over $1.74 billion, up from $1.26 billion in 2012. Internet websites like the

Defendant Internet Stores are also estimated to contribute to tens of thousands of lost jobs for

legitimate businesses and broader economic damages such as lost tax revenue every year.

       16.     As recently addressed in the Wall Street Journal, Fortune, and the New York Times,

and as reflected in the federal lawsuits filed against sellers offering for sale and selling infringing

and/or counterfeit products on the above mentioned digital marketplaces, an astronomical number

of counterfeit and infringing products are offered for sale and sold on these digital marketplaces at a

rampant rate. See Kathy Chu, Luxury brands get tougher with counterfeiters – and Alibaba,

MARKETWATCH (Aug. 16, 2016), http://www.marketwatch.com/story/luxury-brands-get-
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tough-with-counterfeiters-2016-08-16-91031611; Gilian Wong, Alibaba Sued Over Alleged

Counterfeits, WALL STREET JOURNAL (May 17, 2015), http://www.wsj.com/articles/alibaba-

sued-over-alleged-counterfeits-1431877734; Scott Cendrowski, There’s no end in sight for

Alibaba’s counterfeit problem, FORTUNE (May 18, 2015), http://fortune.com/2015/05/18/theres-

no-end- in-sight-for-alibabas-counterfeit-problem/.

       17.     Upon information and belief, Defendants facilitate sales by designing the Internet

Stores to appear to unknowing consumers to be authorized online retailers, outlet stores, or

wholesalers selling genuine Plaintiff’s Products through the use of Plaintiff’s Intellectual Property.

Defendant Internet Stores look sophisticated and perpetuate an illusion of legitimacy – they accept

payment in U.S. dollars via credit cards, Western Union, and PayPal; they often include images and

design elements that make it difficult for consumers to distinguish these unauthorized sites from an

authorized website; they offer “live 24/7” customer service; and, they use indicia of authenticity and

security that consumers have come to associate with authorized retailers, including the McAfee®

Security, VeriSign®, Visa®, MasterCard®, and PayPal® logos.

       18.     Upon information and belief, Defendants also deceive unknowing consumers by

using Plaintiff’s Trademarks without authorization within the content, text, and/or meta tags of

their websites, in order to attract and manipulate search engines into identifying Defendants’

Online Stores as legitimate websites for Plaintiff’s Products. Defendants also employ other

unauthorized search engine optimization (“SEO”) tactics and social media spamming so that

Defendant Internet Stores show up at or near the top of relevant search results, including tactics to

propel new domain names to the top of search results after others are shut down. These tactics are

meant to, and are successful in, misdirecting consumers who are searching for genuine Plaintiff’s

Products.
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       19.     There is a substantial evidentiary overlap in Defendants’ acts of infringement, thus

constituting a collective enterprise.

       20.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. Upon information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule “A” of the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet Store

registration patterns are one of many common tactics used by Defendants to conceal their identities,

the full scope and interworking of their massive infringing operation, and to avoid being shut down.

       21.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores, including, but by no means limited to: (1) virtually

identical layouts, even though different aliases were used to register the respective domain names, (2)

similarities of the unauthorized and/or Counterfeit Products, and indicia of being related to one

another, suggesting that the illegal products were manufactured by and come from a common source

and that, upon information and belief, Defendants are interrelated, and (3) other notable common

features such as use of the same domain name registration patterns, unique shopping cart platforms,

accepted payment methods, check-out methods, meta data, illegitimate SEO tactics, HTML user-

defined variables, domain redirection, lack of contact information, identically or similarly priced

items and volume sales discounts, similar hosting services, similar name servers, and the use of

the same text and images.
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       22.     Further, illegal operators, like Defendants, typically operate multiple credit card

merchant accounts and third-party payment processor accounts, such as PayPal accounts, behind

layers of payment gateways so they can continue operation in spite of any enforcement efforts. Upon

information and belief, and as PayPal transaction logs in previous similar cases have shown,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

to off-shore bank accounts outside the jurisdiction of this Court.

       23.     Defendants, without any authorization or license, have knowingly and willfully

infringed Plaintiff’s Trademarks and Copyrights in connection with the advertisement,

distribution, offering for sale, and sale of illegal, infringing, and counterfeit products into the

United States and Illinois. Each Defendant Internet Store offers to ship to the United States,

including Illinois, and, on information and belief, each Defendant has offered to sell, or has already

sold, infringing products therein.

       24.     In committing these acts, Defendants have, among other things, willfully and in bad

faith committed the following, all of which have and will continue to cause irreparable harm to

Plaintiff: infringed upon and counterfeited Plaintiff’s Trademarks and Copyrights; created,

manufactured, sold, and/or offered to sell counterfeit products and/or products which infringe upon

Plaintiff’s Intellectual Property; used Plaintiff IP in an unauthorized manner in order to sell,

advertise, describe, mislead, disceive, and trade upon Plaintiff’s brand; engaged in unfair

competition; and unfairly and unjustly profited from such activities at the expense of XYZ

Corporation.

       25.     Unless enjoined, Defendants will continue to cause irreparable harm toXYZ

Corporation.
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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       26.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       27.     This is a trademark infringement action against Defendants, based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiff’s

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods.

       28.     Without the authorization or consent of Plaintiff, and with knowledge of Plaintiff’s

well-known ownership rights in its Plaintiff’s Trademarks, and with knowledge that Defendants’

Counterfeit Products bear counterfeit marks, Defendants intentionally reproduced, copied, and/or

colorably imitated Plaintiff’s Trademarks and/or used spurious designations that are identical with,

or substantially indistinguishable from, Plaintiff’s Trademarks on or in connection with the

manufacturing, import, export, advertising, marketing, promotion, distribution, display, offering

for sale, and/or sale of Counterfeit Products.

       29.     Defendants have manufactured, imported, exported, advertised, marketed,

promoted, distributed, displayed, offered for sale, and/or sold their Counterfeit Products to the

purchasing public in direct competition with Plaintiff and Plaintiff’s Products, in or affecting

interstate commerce, and/or have acted with reckless disregard of Plaintiff’s rights in and to

Plaintiff’s Trademarks through their participation in such activities.

       30.     Defendants have applied their reproductions, counterfeits, copies, and colorable

imitations of Plaintiff’s Trademarks to packaging, point-of-purchase materials, promotions, and/or

advertisements intended to be used in commerce upon, or in connection with, the manufacturing,

importing, exporting, advertising, marketing, promoting, distributing, displaying, offering for sale,
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and/or selling of Defendants’ Counterfeit Products, which is likely to cause confusion, mistake,

and deception among the general purchasing public as to the origin of the Counterfeit Products,

and is likely to deceive consumers, the public, and the trade into believing that the Counterfeit

Products sold by Defendants originate from, are associated with, or are otherwise authorized by

XYZ Corporation, through which Defendants make substantial profits and gains to which they are

not entitled in law or equity.

       31.     Defendants’ unauthorized use of Plaintiff’s Trademarks on or in connection with

the Counterfeit Products was done with notice and full knowledge that such use was not authorized

or licensed by XYZ Corporation, and with deliberate intent to unfairly benefit from the

incalculable goodwill inherent in Plaintiff’s Trademarks.

       32.     Defendants’ actions constitute willful counterfeiting of Plaintiff’s Trademarks in

violation of 15 U.S.C. §§ 1114(1)(a)-(b), 1116(d), and 1117(b)-(c).

       33.     Defendants’ continued intentional use of Plaintiff’s Trademarks without the

consent or authorization of XYZ Corporation, constitutes intentional infringement of XYZ

Corporation’s federally registered Plaintiff’s Trademarks in violation of §32 of the Lanham Act,

15 U.S.C. § 1114.

       34.     As a direct and proximate result of Defendants’ illegal actions alleged herein,

Defendants have caused substantial monetary loss, irreparable injury, and damage to XYZ

Corporation, its business, its reputation, and its valuable rights in and to Plaintiff’s Trademarks

and the goodwill associated therewith, in an amount as yet unknown. XYZ Corporation has no

adequate remedy at law for this injury, and unless immediately enjoined, Defendants will continue

to cause such substantial and irreparable injury, loss, and damage to XYZ Corporation and its

valuable Plaintiff’s Trademarks.
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        35.     Based on Defendants’ actions as alleged herein, XYZ Corporation is entitled to

injunctive relief, damages for the irreparable harm that XYZ Corporation has sustained, and will

sustain, as a result of Defendants’ unlawful and infringing actions, as well as all gains, profits, and

advantages obtained by Defendants as a result thereof, enhanced discretionary damages, treble

damages, and/or statutory damages of up to $2,000,000 per-counterfeit mark per-type of goods

sold, offered for sale, or distributed, and reasonable attorneys’ fees and costs.


                                  COUNT II
   FALSE DESIGNATION OF ORIGIN, PASSING OFF, & UNFAIR COMPETITION
                 (15 U.S.C. § 1125(a)/LANHAM ACT § 43(a))

        36.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

        37.     Plaintiff, as the owner of all right, title, and interest in and to Plaintiff’s Trademarks

has standing to maintain an action for false designation of origin and unfair competition under the

Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

        38.     Plaintiff’s Trademarks are inherently distinctive and are registered with the United

States Patent and Trademark Office on the Principal Register; Plaintiff’s Trademarks have been

continuously used and have never been abandoned; the registrations for Plaintiff’s Trademarks are

valid, subsisting, and in full force and effect; and many are incontestable pursuant to 15 U.S.C. §

1065.

        39.     Defendants’ promotion, marketing, offering for sale, and sale of infringing Plaintiff’s

Products has created and continues to create a likelihood of confusion, mistake, and deception among

the public as to the affiliation, connection, or association with Plaintiff or as to the origin, sponsorship,

or approval of Defendants’ Counterfeit Products by Plaintiff.
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       40.     By using Plaintiff’s Trademarks in connection with the sale of unauthorized

products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the unauthorized products.

       41.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the unauthorized products to the general public is a willful violation of

Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       42.     Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, and intended to cause confusion, to cause mistake, and to

deceive the purchasing public, with the intent to trade on the goodwill and reputation of XYZ

Corporation, its Plaintiff’s Products, and Plaintiff’s Trademarks.

       43.     As a direct and proximate result of Defendants’ aforementioned actions,

Defendants have caused irreparable injury to XYZ Corporation by depriving Plaintiff of sales of

its Plaintiff’s Products and by depriving XYZ Corporation of the value of its Plaintiff’s Trademarks

as commercial assets in an amount as yet unknown.

       44.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.


                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       45.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       46.     Defendants have engaged in acts violating Illinois law, including, but not limited

to, passing off their unauthorized products as those of Plaintiff, causing a likelihood of confusion

and/or misunderstanding as to the source of Defendants’ goods, thus causing a likelihood of
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confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

Plaintiff’s Products, through Defendants’ representation that Defendants’ Counterfeit Products

have Plaintiff’s approval, when they do not.

       47.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq..

       48.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                   COUNT IV
                      COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

       49.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       50.     The Plaintiff’s Copyrights are the subject of multiple valid copyright registrations.

       51.     Plaintiff, at all relevant times, has been the holder of the copyright registrations and

exclusive rights of and belonging to XYZ Corporation, including but not limited to the Plaintiff’s

Copyrights and derivative works.

       52.      Copyrights have significant value and have been produced and created at

considerable expense.

       53.     The trademarked and copyrighted products include a copyright notice advising the

general public that Plaintiff’s Products are protected by the Copyright Laws of the United States.

       54.     Upon information and belief, Defendants had access to the copyrighted work

through Plaintiff’s normal business activities. After accessing Plaintiff’s work, Defendants

wrongfully created copies of the copyrighted work without Plaintiff’s consent, and engaged in,

and continue to engage in acts of widespread infringement.
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       55.     XYZ Corporation is informed, and thereon alleges, that Defendants further

infringed Plaintiff’s Copyrights by making, or causing to be made, derivative works by producing

and distributing unauthorized reproductions of the Plaintiff’s Copyrights, without permission of

XYZ Corporation.

       56.     Each Defendant, without the permission or consent of the Plaintiff, has sold, and

continues to sell, online infringing derivative works of Plaintiff’s Copyrights. Each Defendant has

violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant’s actions

constitute an infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

       57.     Further, as a direct result of the Defendants’ acts of copyright infringement,

Defendants have obtained profits they would not have otherwise realized but for their infringement

of Plaintiff’s Copyrights. XYZ Corporation is entitled to disgorgement of Defendants’ profits,

directly and indirectly, attributable to said infringement.

       58.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

U.S. Copyright Law, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504.

       59.     The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured monetarily. Plaintiff has no adequate remedy at law. As such, pursuant

to 17 U.S.C. §§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant

from further infringing Plaintiff’s Copyrights, and ordering that each Defendant destroy all

unauthorized and/or infringing copies and reproductions of Plaintiff’s Copyrighted works.

Defendants’ copies, plates, and other embodiments of the copyrighted work from which copies

can be reproduced should be impounded and forfeited to XYZ Corporation as instruments of

infringement, under 17 U.S.C §503.
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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

          a. using Plaintiff’s Trademarks or any reproductions, copies, or colorable imitations

              thereof, in any manner in connection with the distribution, marketing, advertising,

              offering for sale, or sale of any product that is not an authorized Plaintiff’s Product,

              or is not authorized by Plaintiff to be sold in connection with Plaintiff’s Trademarks

              or Plaintiff’s Copyrights;

          b. passing off, inducing, or enabling others to sell or pass off any product not produced

              under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

              for sale under Plaintiff’s Trademarks or Plaintiff’s Copyrights;

          c. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

              distributing, returning, or otherwise disposing of, in any manner, products or

              inventory not authorized by Plaintiff to be sold or offered for sale, and which bear

              Plaintiff’s Trademarks, or which are derived from Plaintiff’s Copyrights;

          d. further infringing Plaintiff’s Trademarks and damaging Plaintiff’s goodwill;

          e. using, linking to, transferring, selling, exercising control over, or otherwise owning

              the Online Marketplace Accounts, the Defendant Seller Stores, Defendant product

              listings, or any other domain name or online marketplace account that is being used

              to sell products or inventory not authorized by Plaintiff which bear Plaintiff’s

              Trademarks or which are derived from Plaintiff’s Copyrights;
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          f. operating and/or hosting websites at the Defendant Domain Names, and any other

              domain names registered to or operated by Defendants that are involved with the

              distribution, marketing, advertising, offering for sale, or sale of products or

              inventory not authorized by Plaintiff which bear Plaintiff’s Trademarks, or which

              are derived from Plaintiff’s Copyrights;

       2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces and payment processors,

such as eBay, Amazon, Wish, iOffer, and Alibaba Group Holding Ltd., Alipay.com Co., Ltd., and

any related Alibaba entities (collectively, “Alibaba”), social media platforms, Facebook, YouTube,

LinkedIn, Twitter, Internet search engines such as Google, Bing, and Yahoo, web hosts for the

Defendant Domain Names, and domain name registrars, shall:

          a. disable and cease providing services for any accounts through which Defendants

              engage in the sale of products not authorized by Plaintiff which bear Plaintiff’s

              Trademarks, including any accounts associated with the Defendants listed on

              Schedule “A”;

          b. disable and cease displaying any advertisements used by or associated with

              Defendants in connection with the sale of products not authorized by Plaintiff which

              bear the Plaintiff’s Trademarks, or which are derived from Plaintiff’s Copyrights;

              and,

          c. take all steps necessary to prevent links to the Defendant Domain Names identified

              on Schedule “A” from displaying in search results, including, but not limited to,

              removing links to the Defendant Domain Names from any search index.
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       3) That Defendants account for, and pay to, Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged;

       4) For Judgment in favor of Plaintiff against Defendants that they have willfully infringed

Plaintiff’s rights in its federally registered Trademarks, pursuant to 15 U.S.C. § 1114;

       5) That Plaintiff be awarded actual damages, statutory damages, and/or other available

damages, at the election of Plaintiff; and that the amount of damages for infringement are increased

by a sum not to exceed three times the amount thereof as provided by 15 U.S.C. § 1117;

       6) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in its federally registered copyrights pursuant to 17 U.S.C. §501; and,

b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

       7) That Plaintiff be awarded actual damages, statutory damages, and/or other available

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff;

       8) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and,

       9) Any and all other relief that this Court deems just and proper.


       DATED: June 3, 2020                            Respectfully submitted,

                                                             /s/ Ann Marie Sullivan
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                                                             Alison Carter
                                                             Raymond Lang
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                                                             ATTORNEYS FOR PLAINTIFF
